       Case 4:18-cv-02011 Document 55 Filed on 10/03/19 in TXSD Page 1 of 1


UNITED STATES DISTRICT COURT                       SOUTHERN DISTRICT OF TEXAS

                                 HOUSTON DIVISION

Austin Van Overdam
  Plaintiff(s),

v.                                                      Case No. 4:18−cv−02011

Texas A&M University, et al.
  Defendant(s).



                             NOTICE OF SETTING
                               PLEASE TAKE NOTICE

                             HEARING: Motion Hearing
                          RE: Motion for Protective Order − #50
                                  DATE:     10/9/2019
                                   TIME:    03:30 PM
                                HAS BEEN SET BEFORE
                               JUDGE KEITH P. ELLISON
                          UNITED STATES COURTHOUSE
                           515 RUSK COURTROOM 3−A
                             HOUSTON, TEXAS 77002.


         ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
            ON THE COURT'S DIAL−IN NUMBER AT 713−250−5238.
       ENTER CONFERENCE ID: 45238, FOLLOWED BY PASSWORD: 13579.




David J. Bradley, Clerk                                            Date: October 3, 2019
By Deputy Clerk, A. Rivera
